                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                            Case No. 20-cr-113 (DSD/BRT)


 UNITED STATES OF AMERICA.                               SUPERSEDING INDICTMENT

                     Plaintiff,                          18   U.S.C.   S3
                                                         18   U.S.C.   S   8aa(c)
       v.                                                18   U.S.C.   S 844(i)
                                                         18   U.S.C.   S 853(p)
 1.   JOSE A. FELAN, JR.,                                18   U.S.C.   S e82(a)(2)(B)
 2.   MENA D. YOUSIF, and                                18   U.S.C.   S e82@)(1)
 3.   MOHAMED HUSSEIN ABDI                               28   U.S.C.   S 2a61(c)

                     Defendants.

      THE UNITED STATES GR"A,ND JURY CIIARGES TIIAT:

                                         COUNT       1
                                           (Arson)

      On or about May 28, 2020, in the State and District of Minnesota. the

defendant,

                                   JOSE A. FELAN, JR.,

maliciously damaged and destroyed, and attempted to damage and destroy, by means

of fire, a building used in interstate or foreign commerce and in activity affecting

interstate or foreign commerce, namely, the Goodwill retail store located at 1239

University Avenue West, in St. PauI, Minnesota, all in violation of Title 18, United

States Code, Section 844(i).

                                          COUNT 2
                                  (Accessory After the Fact)

      On or about May 28, 2020, through the present, in the State and District of

Minnesota and elsewhere, the defendant,
                                                                                      SCAruI$HP
                                                                                        JUL 23        2020

                                                                                    U.S. DISTRICT   C0tifil   MPLS
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                                          MENA D. YOUSIF.

knowing that an offense against the United States had been committed, to wit, arson

as set forth   in Count    1, did receive, relieve, comfort, and assist the offender, Jose A.

Felan, Jr., in order to hinder and prevent the offender's apprehension, trial, and

punishment, all in violation of Title 18, United States Code, Section         3.

                                              COUNT       3
                                                (Arson)

        On or about May 28, 2020, in the State and District of Minnesota, the

defendant,

                                  JOSE A. FELAN, JR., and
                                 MOHAMED HUSSEIN ABDI

maliciously damaged and destroyed, and attempted to damage and destroy, by means

of fire, a building used in interstate or foreign commerce and in activity affecting

interstate or foreign commerce, namely, the Gordon Parks High School located at

1212 University Avenue West,              in St. PauI, Minnesota, all in violation of Title   18,

United States Code, Section 844(l).

                                              COUNT 4
                                                (Arson)

        On or about May 28, 2020, in the State and                         of Minnesota.
defendant,

                                         JOSE A. FELAN, JR.,

maliciously damaged and destroyed, and attempted to damage and destroy, by means

of fire, a building used in interstate or foreign commerce and in activity affecting

interstate or foreign commerce, namely, t}re 7 MiIe Sportswear store located at 590
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University Avenue West, in St. Paul, Minnesota, all in violation of Title 18, United

States Code, Section 844(l).

                               FORFEITURE ALLEGATIONS

        If convicted of Counts     1, 3, or 4 of   this Superseding Indictment, the defendants,

MOHAMED HUSSEIN ABDI, and/or JOSE A. FELAN, JR., shall forfeit to the

United States of America, pursuant to Title 18, United States Code, Section
982(a)(2)(B), any property constituting, or derived from, proceeds obtained, directly

or indirectly, as a result of such violation, and pursuant to Title 18, United States

Code, Section 8aa@) and        Title 28, United States Code, Section 246I(c), any explosive

materials involved or used or intended to be used in the violation.

       If any of the above-described forfeitable property is unavailable for forfeiture,

the United States intends to seek the forfeiture of substitute property as provided for

in Title 21, United States Code, Section 853(p), as incorporated by Title 18, United

States Code, Section 982(bX1) and Title 28, United States Code, Section 246I(c).



                                          A TRUE BILL




UNITED STATES ATTORNEY                                  FOREPERSON
